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 7
                          UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF WASHINGTON
 9
     UNITED STATES OF AMERICA,                       Case No.: 4:21-cr-06028-MKD-9
10
11                         Plaintiff,                Motion for Detention
12
                      v.
13
14   CARLOS RUELAS-VALDOVINOS,

15                         Defendant.
16
17         The United States moves for pretrial detention of Defendant, pursuant to 18
18   U.S.C. § 3142(e) and (f).
19
20         1.    Eligibility of Case

21         This case is eligible for a detention order because the case involves (check
22
     one or more):
23
24         ☐     Crime of violence (as defined in 18 U.S.C. § 3156(a)(4) which
25
     includes any felony under Chapter 77, 109A, 110 and 117);
26
27         ☐     Maximum penalty of life imprisonment or death;
28



     Motion for Detention - 1
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 1         ☒      Drug offense with maximum penalty of 10 years or more;
 2
           ☐      Felony, with two prior convictions in above categories;
 3
 4         ☐      Felony that involves a minor victim or that involves the possession or
 5
 6   use of a firearm or destructive device as those terms are defined in 18 U.S.C.
 7   § 921, or any other dangerous weapon, or involves a failure to register under 18
 8
     U.S.C. § 2250;
 9
10         ☒      Serious risk Defendant will flee; or
11
12         ☒      Serious risk obstruction of justice.

13         2.     Reason for Detention
14
           The Court should detain Defendant because there is no condition or
15
16   combination of conditions which will reasonably assure (check one or both):
17
           ☒      Defendant’s appearance as required; or
18
19         ☒      Safety of any other person and the community.
20
21         3.     Rebuttable Presumption.

22         The United States
23
           ☒      will
24
25         ☐      will not
26
27   invoke the rebuttable presumption against Defendant under 18 U.S.C. § 3142(e).

28



     Motion for Detention - 2
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 1           If the United States is invoking the presumption, it applies because there is
 2
     probable cause to believe Defendant committed:
 3
 4           ☒     Drug offense with maximum penalty of 10 years or more;
 5
             ☐     An offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
 6
 7           ☐     An offense under 18 U.S.C. §§ 2332b (g)(5)(B) for which a maximum
 8
 9   term of imprisonment of 10 years or more is prescribed;

10           ☐     An offense under chapter 77 of Title 18, United States Code, for
11
12   which a maximum term of imprisonment of 20 years or more is prescribed;

13           ☐     An offense involving a minor victim under 18 U.S.C. §§ 1201, 1591,
14
15   2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),

16   2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or
17
     2425;
18
19           ☐     Other circumstances as defined in 18 U.S.C. § 3142(e)(2).
20
             4.    Time for Detention Hearing
21
22           The United States requests that the Court conduct the detention hearing:
23
             ☐     At the first appearance, or
24
25           ☒     After a continuance of three days.
26
27
28



     Motion for Detention - 3
     Case 4:21-cr-06028-MKD       ECF No. 192    filed 04/08/22   PageID.1003 Page 4 of 5




 1         5.     No Contact Order
 2
           The United States further requests, in addition to pretrial confinement, that
 3
 4   Defendant be subject to the following condition:
 5         Defendant shall have no contact whatsoever, direct or indirect, with any
 6
     persons Defendant knows or reasonably should know are or may become a victim
 7
 8   or potential witness in the subject investigation or prosecution. Prohibited forms of
 9
     contact include, but are not limited to, telephone, mail, email, text, video, social
10
11   media, and/or any contact through any third person or parties.
12
           Dated: April 8, 2022.
13
14                                                  Vanessa R. Waldref
                                                    United States Attorney
15
16                                                  s/Stephanie Van Marter
                                                    Stephanie Van Marter
17                                                  Assistant United States Attorney
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     Motion for Detention - 4
     Case 4:21-cr-06028-MKD      ECF No. 192    filed 04/08/22   PageID.1004 Page 5 of 5




 1                              CERTIFICATE OF SERVICE
 2
           I hereby certify that on April 8, 2022, I electronically filed the foregoing
 3
 4   with the Clerk of the Court using the CM/ECF system, which will send notification
 5   of such filing to Defendant’s counsel of record, if any have been appointed or
 6
     retained.
 7
 8                                                 s/Stephanie Van Marter
 9                                                 Stephanie Van Marter
                                                   Assistant United States Attorney
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     Motion for Detention - 5
